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5                             UNITED STATES DISTRICT COURT
6                           CENTRAL DISTRICT OF CALIFORNIA
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                                 )
8     MARTINA D. EVANS,          ) Case No. CV 17-8345-DMG (AGRx)
                                 )
9                   Plaintiff,   )
                                 )
10            v.                 )
                                 ) JUDGMENT
11                               )
      MORGAN AVERY MCCOY-HARRIS, )
12    et al.,                    )
                                 )
13                               )
                                 )
14                  Defendants.  )
                                 )
15                               )
16
17             The Court having granted the motions to dismiss of Defendants Morgan Avery
18    McCoy-Harris and Farah Cocoa Brown with prejudice by order dated May 9, 2019 [Doc.
19    # 90],
20             IT IS ORDERED, ADJUDGED, AND DECREED that judgment is entered in favor
21    of Defendants and against Plaintiff.
22
23    DATED: May 9, 2019
24                                                            DOLLY M. GEE
25                                                    UNITED STATES DISTRICT JUDGE

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